Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 1 of 12




                      Exhibit 16
                 Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 2 of 12


   Message
   From:          David M. Post [david.post@yale.edu]
   Sent:          2/1/2016 10:24:31 AM
   To:            Sawyer, Susan [susan.sawyer@yale.edu]
   Subject:       Fwd: Report


   FYI



           Forwarded Message
                Subject:Report
                   Date:Sat, 30 Jan 2016 13:30:26 -0500
                   From:David M. Post <david.00stPvale.edu>
                      To:Menon, Alice <aley.menon@vale.edu>



   Hello Aley,

   I worked on the panel report this morning. I incorporated Susan's edits and suggestions. I also worked on a couple
   remaining awkward sentences.

   Two remaining important points for inputs. First, I did not add the sentence about the complainant getting extensions
   on assignments. Take a look at my reasons in the comment. I am happy to put it in if you don't agree. Second, I removed
   the paragraph about inconsistencies in the conversation between the two parties the week following the assault. I and
   the rest of the panel heard the respondents response to the panel it as creating an inconsistency with his description to
   the fact finder, but it appears too subtle in the report. Perhaps that is my failure to portray it well in writing. On the
   other hand it was subtle - it likely required being in the room for the hearing to understand the distinction we heard -
   and it is not really needed.

   As always, thank you very much!

   Sincerely,
   David

   David M. Post
   Professor of Ecology and Evolutionary Biology
   Chair, University-Wide Committee on Sexual Misconduct
   Yale University
   203-432-3005
   postlab.yale.edu




Confidential                                                                                                     YALE00016747
                Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 3 of 12




                                                          CONFIDENTIAL

                                                                                                          29 January 2016
         UWC Panel Report to Dean Jonathan Holloway
         Complainant: Jane Roe
         Respondent: Jack Montague (Trumbull '16)

         Introduction

         On 21January 2016, the UWC held a hearing to address the complaint brought by Senior
         Deputy Title IX Coordinator Jason Killheffer against Jack Montague on 18 November 2015. The
         complaint alleges that Jack Montague (Trumbull '16) sexually assaulted Jane Roe
                        on the night of Saturday, 18 October 2014 at his residence located at 43 Howe
         Street.

         Jane Roe       participated in the hearing and was accompanied by her adviser Amy Myers
         from the SHARE Center. Jack Montague participated In the hearing and was accompanied by his
         adviser Coach James Jones. The panel thanks the parties and their advisers for participating In
         the hearing.

        During the hearing, the panel's questioning of the parties was informed by the detailed report
        prepared by UWC fact-finder Miriam Berkman.

        Findings of Fa&

        The panel accepts the undisputed facts In the fact•finsier's report and summarizes here the
        relevant facts'. Ms. Roe       and Mr. Montague were friends and had three previous Intimate
        interactions, including sexual Intercourse on 24 September 2014. On 18 October 2014, Ms.
        Roe       went to a party at Mr. Montague's house. Both parties had been drinking but both
        said they were not Incapacitated. They engaged in consensual sexual contact not Including
        intercourse outside the house and In Mr. Montague's car. They then went inside to Mr.
        Montague's bedroom, where they continued sexual contact, including intercourse. Ms.
        Roe       stayed the night with Mr. Montague and went home in the morning. the.paneI
        accepts ail of the above facts as undisputed.

        The panel reviewed the evidence presented by the fact finder and at the hearing to understand
        whether, as alleged In the complaint, Mr. Montague engaged in nonconsensual sexual


          The panel's findings of fact are underlined.
        2 The panel notes that on page 17 of the fact-finder's report, in the section addressing the testimony of Angela
        Gleason, the sentence starting "On October 19, 2014 ..." should read "On October 19, 2015 ..." On page 18 of the
        fact-finder's report, in the final paragraph, the date in the sentence "... she had not wanted sexual intercourse on
        October 28 ..." should be October 18.


                                                                  1




Confidential                                                                                                                   YALE00016748
               Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 4 of 12




        Intercourse with Ms. Roe        on 18 October 2014 In violation of the University's sexual
        misconduct policy.

        Relevant Yale Policy

        The relevant part of the University's definition of sexual misconduct reads:

               Sexual misconduct incorporates a range ofbehaviors including...sexual assault...and any
               other conduct of a sexual nature that is nonconsensual, or has the purpose or effect of
               threatening, Intimidating or coercing a person.

        The University's definition of sexual assault in relevant part reads:

               Sexual assault is any kind of nonconsensual sexual contact Including rape, groping, and
               any other nonconsensual touching.

        The relevant part of the University's definition of sexual consent reads:

               Sexual activity requires consent, which Is defined as positive, unambiguous, and
               voluntary agreement to engage In specific sexual activity throughout a sexual encounter.
               Consent cannot be inferredfrom the absence of a "no"; a clear "yes," verbal or
               otherwise, is necessary. Consent to some sexual acts does not constitute consent to
               others, nor does past consent to a given act constitute present orfuture consent.
               Consent must be ongoing throughout a sexual encounter and can be revoked at any
               time.

        The University's guidance regarding sexual consent reads:

               Consent can only be accurately gauged through direct communication about the
               decision to engage in sexual activity. Presumptions based upon contextualfactors (such
               as clothing, alcohol consumption, or dancing) are unwarranted, and should not be
               considered as evidence for consent.

               Although consent does not need to be verbal, verbal communication is the most reliable
               form of asking for and gauging consent. Talking with sexual partners about desires and
               limits may seem awkward, but serves as the basis for positive sexual experiences shaped
               by mutual willingness and respect.

        Findings and Explanations of the Panel:

        Ms. Roe       and Mr. Montague provided substantially different accounts of the sexual
        encounter in Mr. Montague's room on the night of 18 October 2014 and of subsequent events
        and interactions.



                                                         2




Confidential                                                                                              YALE00016749
               Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 5 of 12




        Ms. Roe         account- Ms. Roe        alleges that Mr. Montague engaged in sexual
        Intercourse over her express verbal objection and physical resistance. Before going In to Mr.
        Montague's bedroom, Ms. Roe           asked Mr. Montague twice if It was OK to "hook up" and
        not "have sex." Mr. Montague responded that it was OK with him. Ms. Roe            said she felt
        comfortable with Mr. Montague and in control of the situation because she had been careful to
        not drink too much and because she had been so verbally clear and direct with Mr. Montague
        about not wanting to have intercourse. Ms. Roe        told the panel "I really trusted him. I had
        no reason not to." She also told the panel that she had intentionally brought up the topic of not
        having sexual intercourse in the form of a question and if Mr. Montague had said no, she would
        have considered things differently.

        Once In Mr. Montague's room, the parties took off their clothing and kissed and touched. Ms.
        Roe        indicated her consent to kissing and touching by kissing Mr. Montague, touching his
        body (but not his genitals), and by not tensing up. Mr. Montague got on top of Ms. Roe
        and leaned his pelvis into her as if he was preparing to penetrate her. Ms. Roe          put her
        hands up and pressed them against his shoulder and pushed him away. Then she said "Jack, no,
        I said I wanted to hook up but not have sex," but he then penetrated her over her objection.
        Ms. Roe         was surprised and frozen during Intercourse. She did not attempt to push him
        away during intercourse but rather just waited for him to stop. Ms. Roe            said Mr.
        Montague looked very drunk. After intercourse, Mr. Montague said "I'm really sorry. I know
        you didn't want that." After Mr. Montague stopped, Ms. Roe           lay still in bed feeling
        defeated and confused.

        After intercourse, Mr. Montague got dressed and went downstairs, where some of his friends
        and housemates were gathered. He came back upstairs and told Ms. Roe             that he was
        going to Zeta Psi and she should stay in his bedroom and wait for him to come back. Ms.
        Roe        reported thinking she might leave and go home but then heard people downstairs
        calling her name and telling her to come down. Ms. Roe         reported feeling confused but she
        went down stairs. Mr. Montague did not want her to go with him to Zeta Psi, so he asked a
        male friend of his, whom Ms. Roe         did not know, to take her with him to Toad's Place. Mr.
        Montague said he would meet up with Ms. Roe           later back at his house. Ms. Roe        did
        not say anything and went along to Toad's passively with Mr. Montague's friend, whom she
        didn't know, because she couldn't think clearly. She told the panel that she felt like she was
        being passed along. She entered Toad's for a brief time and then left to go to her suite in
        REDACTED

        Ms. Roe         walked to REDACTED         alone after 1:00 a.m. (swipe card data recorded her
        entering REDACTEDat 1:34 a.m.) but once there, she became confused and overwhelmed. Ms.
        Roe        said she just wanted to go to bed and not have to talk with anyone, but she realized
        that there would be lots of people In her suite (several sultemates and friends visiting) and it
        would be impossible to go to bed without seeing anyone or being asked a lot of questions.
        Because she was overwhelmed by the prospect of having to answer questions or talk if she
        returned to her suite, Ms. Roe       decided to return to Mr. Montague's house. Ms. Roe
        said it was "the only place where I wouldn't have to explain myself." Since Mr. Montague was


                                                        3




Confidential                                                                                                YALE00018750
               Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 6 of 12




        planning on having her return, Ms. Roe         thought he would not question her about the
        night and would let her go to sleep quietly. Ms. Roe      met Mr. Montague near REDACTED
        REDACTED
                 and returned to Mr. Montague's house. On the way, Mr. Montague was flirty and Ms.
        Roe        told him she just wanted to go to sleep. Mr. Montague Joked about being too drunk
        to have sex. Ms. Roe        stayed the night at Mr. Montague's house, sleeping in Mr.
        Montague's bed, but remaining fully clothed. The next morning, Ms. Roe         left Mr.
        Montague's house with no discussion of what happened the previous night.

        Ms. Roe        reported returning to her suite around 10 a.m. (swipe card data indicates she
        entered REDACTEDat 9:57 a.m., and REDACTED — which connects through the basement to her
        suite in REDACTED— at 9:58 a.m.). In the common room of the suite, one of her suitemates,
        REDACTED           , asked her how her night was. Ms. Roe       replied "terrible," described
        what had happened, and started to cry. She then spoke with other sultemates about her
        experience, and her friends encouraged her to talk with someone about what Mr. Montague
        had done. She met with Jennifer Czincz from the SHARE center to learn her options, but
        decided she did not want to file a complaint. She also spoke with REDACTED
        student and friend, who encouraged her to write down what happened in case she wanted to
        file a complaint in the future. Ms. Roe      wrote up her account by hand on 22 October
        (Exhibit D).

        Ms. Roe       decided to speak with Mr. Montague so he would understand that what he had
        done was wrong and so that he would not do It to anyone else. The parties met on 28 October.
        Ms. Roe       told Mr. Montague that she had made it clear to him on 18 October that she did
        not want to have sex with him and that he proceeded anyway. She told Mr. Montague that she
        did not want to see him again. Mr. Montague said that he was sorry that she felt that way and
        that he had been very drunk that night. He was very careful with his words, trying to be nice but
        not taking responsibility for any misconduct.
                                                                                                              Comment [MN]: Aley, I did not include
        IMs. Roe         reported a number of Impacts of this incident on her educational and living          the text "She had to request extensions on
         experience at Yale. She had intrusive thoughts and nightmares about Mr. Montague in the fall         many of her academic assignments" because,
         of 2014 and on and off through the spring and early fall of 2015. Ms. Roe         told the panel     the way I read her opening statement, that
                                                                                                              Impact was more related to participating In
         she abruptly ended relationships with high school friends because she did not think she could        the complaint
         keep what had happened from them and felt it even more difficult to tell them. She said she
         would be overcome by emotion when she saw an article about Yale basketball, when the Yale            She said:
                                                                                                              "After my conversation with Angle, I was very
        Police sent an email about sexual assault, or when she saw Mr. Montague's name on the guest           update or several weeks. I met with my dean
         list of her sorority's events. Ms. Roe     made the difficult decision to resign from the            to get extensions on many of my assignments,
         REDACTED               because she could not imagine having to see REDACTED Mr. Montague             because even when not in meetings related to
                                                                                                              the Investigation, I was much too distracted to
         at basketball games (Exhibits F and G).[.                                                            be productive."

        Mr. Montague's account— Mr. Montague asserts that Ms. Roe             consented to all of the         I sae this as an Impact of the assault but
                                                                                                              wondered If other might see it as a results of
        sexual activity that took place on the night of 18 October 2014. Mr. Montague said he had four-       the university pushing her to participate. The
        seven drinks over three and a half hours and that he had been careful to not drink too much           report is strong enough without it but it does
        because he was excited to see Ms. Roe           Mr. Montague's accounts of how he ascertained         make this point stronger
        consent differed in his accounts to the fact finder and to the hearing panel. In his account to the   Thrakishis?



                                                         4




Confidential                                                                                                                     YALE00016751
                Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 7 of 12




        fact finder, Mr. Montague said he had obtained verbal consent. He told the fact finder that Ms.
        Roe       agreed to go up to his room; that they each removed their own clothing, although he
        may have unhooked her bra; they were kissing and touching each other; and he asked if she
        wanted to have sex and Ms. Roe            said "OK." At the hearing, when the panel asked Mr.
        Montague how he understood that he had consent for sex, Mr. Montague mentioned only non-
        verbal indicators of consent: Ms. Roe          agreed to come up stairs to his room, he did not use
        force, Ms. Roe        took off all of her clothing, she did not say no, and she was an active
        participant in sex, Including verbalizing her pleasure, touching him, and switching positions
        during sex. He did not tell the panel that before engaging in sexual intercourse that he asked
        Ms. Roe        if she wanted to have sex and she said "OK."

        Mr. Montague did not recall Ms. Roe         asking him if it was OK to "hook up but not have
        sex." He also denied that Ms. Roe       told him she did not want to have sex or that she
        pushed him away immediately before intercourse. He further denied saying to Ms. Roe
        after intercourse "that he was sorry because he knew she didn't want that," Mr. Montague
        expressed confusion about the complaint and told the panel he was under the impression that
        all of his interactions with Ms. Roe     had been consensual.

        The accounts of Ms. Roe          and Mr. Montague differ in several key respects, which are
        summarized here:

               a) Ms. Roe        said she asked Mr. Montague twice if it was OK that they "hook up" but
                  not "have sex" and Mr. Montague responded in the affirmative both times. Ms.
                  Roe        told the panel that she was proud she had been crystal clear about what she
                  wanted that night. She said "I very clearly expressed myself." Mr. Montague denied that
                  Ms. Roe        ever asked if it was OK to "hook up but not have sex." When pressed on
                  this issue, Mr. Montague told the panel it was possible that Ms. Roe       said this, but
                  the party was loud and maybe he did not hear her or he may have heard something
                  different.

               b) Ms. Roe      said she told Mr. Montague that she did not want to have sex when the
                  two were in Mr. Montague's room. Mr. Montague denied this occurred.

               c) Ms. Roe       said Mr. Montague penetrated her against her express verbal objection
                  and physical resistance. In stark contrast, Mr. Montague told the fact finder that Ms.
                  Roe       verbally agreed to have sex when they were in his room. When questioned by
                  the panel about how he knew he had consent that night, Mr. Montague described only
                  nonverbal indications of consent. Mr. Montague also said Ms. Roe          did not push
                  him away immediately before Intercourse.

               d) Mr. Montague said they switched positions while having intercourse. Ms. Roe         did
                  not remember switching positions and recalls being frozen.

               e) Ms. Roe        said Mr. Montague looked very drunk, and that he Joked about being too
                  drunk for sex later in the evening, after she met him near REDACTED        to return to


                                                          5




Confidential                                                                                                  YALE00018752
                  Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 8 of 12




                  his house. She told the panel that Mr. Montague seemed more Intoxicated on 18
                  October 2014 than on the previous three nights when they had intimate interactions.
                  Mr. Montague told the fact finder that he had four to seven drinks that night. He told
                  the panel it was a typical party night for him and that he was not as intoxicated as he
                  had been during previous intimate encounters with Ms. Roe

        The panel deliberated at length about Issues of credibility In evaluating the conflicting
        statements made by Mr. Montague and Ms. Roe             The panel finds Ms. Roe           account
        more credible for the following reasonl:

               1, Full, detailed and consistent account. Ms. Roe         provided a full and detailed
                  account of her relationship with Mr. Montague. Ms. Roe           told the panel she
                  remembered the incident and what happened very clearly. The Danel finds there is no
                  evidence that Ms. Roe        was intoxicated or otherwise impaired in any way that
                  would have affected her recollection of the night. Ms. Roe            testimony on the
                  material facts at the hearing, In Interviews with the fact-finder, in her contemporaneous
                  text to her friend REDACTED(Exhibit F), and In her undated written account (Exhibit D)
                  were all detailed and consistent. Ms. Roe        also provided Information that may have
                  been viewed as damaging to her allegations, such as the fact that she returned to Mr.
                  Montague's house. Her descriptions were clear and specific, and where time frames and
                  movements were concerned her account was fully consistent with the time frames
                  noted in the electronic swipe card records. The panel finds Ms. Roe            account
                  credible.

               2. Corroborative third-party witness accounts. The fact finder Interviewed Ms. Roe
                  suitemates, REDACTED                                                       and friend
                  REDACTED In separate interviews with the fact finder, REDACTED
                  REDACTED all recalled Ms. Roe        talking with them about her sexual encounter with
                  Mr. Montague the day after it occurred. REDACTED recalled speaking with Ms. Roe
                  about her encounter with Mr. Montague a day later. All four suitemates said that Ms.
                  Roe        told Mr. Montague that she did not want to have sex and she resisted, but
                  that he had ignored her and continued over her objections. REDACTED
                  also recalled that Ms. Roe     said that after intercourse, Mr. Montague apologized
                  because he knew she had not wanted that. The nearly contemporaneous text message
                  exchange between REDACTED and Ms. Roe           on the morning of 19 October 2014 is
                  also consistent with Ms. Roe        testimony that she said no a number of times, she
                  tried to push Mr. Montague away, and he apologized after Intercourse (Exhibit F).

                  REDACTED                            also spoke about the impacts of the sexual encounter
                  on Ms. Roe        REDACTED said there was a striking difference between Ms.
                  Roe        reaction to her first experience of sexual intercourse with Mr. Montague in
                  September and her reaction on the morning of 19 October 2014. On the earlier
                  occasion, Ms. Roe       felt unhappy and angry with herself because, although she
                  consented, she felt she had too much to drink and was not using her usual good



                                                          6




Confidential                                                                                                  YALE00018753
                  Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 9 of 12




                  Judgment. On that occasion, she was upset with herself but was not crying or falling
                  apart. In contrast, on the morning of 19 October 2014, Ms. Roe      was sobbing
                  uncontrollably as she told the story of what happened and Ms. Roe       was upset and
                  cried on and off the whole day. REDACTED said that Ms. Roe     gave up REDACTED in
                  order to stay away from Mr. Montague, which was a big disruption in her life, and Ms.
                  Roe        seemed more stressed and unhappy during the fall of 2015. REDACTED also
                  discussed Ms. Roe         leaving REDACTED              .

                  The panel finds persuasive the corroborative accounts provided by the third-party
                  witnesses that Ms. Roe       told Mr. Montague she did not want to have sex. that she
                  tried to push him away, and that he apologized after intercourse. The panel also finds
                  persuasive the statements made by three of the third-party witnesses that the sexual
                  encounter hack a strong negative impact on Ms. Roe

               3. Independent evidence that further supports Ms. Roe            account. The swipe card
                  records (Exhibit H) support Ms. Roe          description of her actions after leaving Mr.
                  Montague's house. The records show she entered REDACTED               at 1:34 a.m. and
                  then swiped Into REDACTED             , where she met Mr. Montague, just a few minutes
                  later at 1:40 a.m. This Is consistent with Ms. Roe        explanation that she returned to
                  the REDACTEDcourtyard after around 1 a.m. but decided to return to Mr. Montague's
                  house because she Just wanted to go to sleep and she did not want to have to speak
                  with her housernates about her experience at that time. Furthermore, Ms. Roe
                  said she returned to REDACTEDand her suite around 10 a.m. the next morning, which
                  consistent with records indicating she entered REDACTEDat 9:57 a.m, and REDACTED
                  which connects to her suite In REDACTED, at 9:58 a.m. The panel finds Ms. Roe
                  Mianation for why she did not return to her suite but rather returned to Mr.
                  Montague's room and stayed the night reasonable and understandable given her
                  experience and the likely interactions in her suite that night. The panel also finds her
                  statements consistent with the swipe card records and the accounts of her suitemates.
                  The swipe card data further supports the clarity and accuracy of Ms. Roe
                  recollections of the evening.

               4. Narrowness of the claim. Ms. Roe        raised concerns about a single sexual act during
                  an otherwise consensual encounter. Ms. Roe        further contrasted her experience on
                  18 October 2014, when she alleges sexual intercourse was not consensual, with her
                  experience on 24 September 2014 when she consented to sexual intercourse but felt
                  unhappy in retrospect because she was intoxicated and had not exercised her usual
                  good Judgement. The panel finds the narrow claim and contrasting response to the two
                  experiences of sexual intercourse with Mr. Montague contributed to Ms. Roe
                  credibility.

               5. Ms. Roe         motivation for bringing the complaint. Ms. Roe          told the fact
                  finder and the hearing panel that she had not initially intended to bring a complaint
                  against Mr. Montague. In her conversation with Mr. Montague on 26 October 2014, and



                                                           7




Confidential                                                                                                   YALE00018754
                 Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 10 of 12




                  in her conversations with Angela Gleason, the Title IX Coordinator for Yale College, In
                  the fall of 2015, Ms. Roe       said she wanted Mr. Montague to understand that what
                  he had done was wrong and to understand the University's policy on consent so that he
                  would not do it again to anyone else. Ms. Roe        agreed to participate in the UWC
                  Investigation only after she learned that Mr. Montague had already, received training.
                  When asked by the panel what he thought might have motivated Ms. Roe              to
                  participate In this complaint, Mr. Montague said he did not understand her motivation,
                  that It confused him, and that he thought they had both enjoyed their sexual activity on
                  18 October 2014. The Panel finds no credible eviderve to suggest Ms. Roe          had any
                  motivation to be dishonest with her friends, the fact finder, or this panel.

               6. Ms. Roe           actions after the alleged sexual assault. Ms. Roe        sought support
                  from her friends the morning after the alleged sexual assault, she called SHARE for
                  support a few days later, and she confronted Mr. Montague the following week. In that
                  meeting, Ms. Roe          told Mr. Montague that she had made it clear she did not want
                  to have sex with him on 18 October, and that she did not want to see him anymore.
                  Later in that academic year, Ms. Roe          resigned from REDACTED                . She
                  told her friend REDACTED                   , that she did not know If she would be okay
                  REDACTEDMr. Montague at basketball games (Exhibit F), and told REDACTED
                  REDACTED on 8 January 2015 that she would not be able REDACTED                    because
                  she had "... a really serious issue with someone on the basketball team ..." (Exhibit G).
                   the panel finds Ms. Roe          actions after 18 October 2014 to be consistent with her
                  experience of her encounter with Mr. Montague as sexual assault.

               7. Mr. Montague's credibility. The panel does not find Mr. Montague as credible as Ms.
                  Roe        because of his selective memory of the night of 18 October 2914 and NE
                  shifting recollection of how he gauged consent.

                  The panel finds Mr. Montague remembered certain key details that were most helpful
                  to him, but remembered few other details of the night of 18 October 2014. For example,
                  Mr. Montague said that Ms. Roe           did not ask him If it was OK to "hook up but not
                  have sex," although when pressed by the panel he said he may not have heard her say
                  this because the party was loud. Mr. Montague also said that he did not say "I'm really
                  sorry. I know you didn't want that" or "I'm too drunk to have sex." In contrast, Mr.
                  Montague did not recall speaking with his friends when he went downstairs after sexual
                  intercourse with Ms. Roe         leaving the house to attend a party, arranging for Ms.
                  Roe        to go to Toad's with a friend, or meeting Ms. Roe        at REDACTED and
                  walking together back to his residence.

                  In addition. the oanel finds Mr Montaeue's account of how he gauged consent shifted
                  from his Interviews with the fact finder to his discussion with the panel. Mr. Montague
                  told the fact finder that he asked Ms. Roe        if she wanted to have sex and Ms.
                  Roe        said "OK," providing verbal consent. When asked by the panel, Mr. Montague
                  did not mention obtaining verbal consent from Ms. Roe            instead he remembered




Confidential                                                                                                  YALE00016755
               Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 11 of 12




                Ms. Roe        providing non-verbal consent. In addition, when discussing consent with
                the panel, Mr. Montague said that that he did not use force and that Ms. Roe         did
                not say "no" during intercourse. The panel notes that the absence of force or the
                absence of "no" are not sufficient indicators of consent under the University policy,
                which requires positive, unambiguous, and voluntary agreement to engage in specific
                sexual activity.

                The panel finds Mr. Montague's account less credible because his memory of the night
                of 1.8 October 2014 appears selective and because the accounts he gave to the fact
                finder and panel were inconsistent.

         Conclusion:

         [In accordance with Section 7.4 of the UWC's Procedures, the panel takes into account Mr.
         Montague's previous formal disciplinary history with the UWC for violating Yale's sexual
         misconduct policy when reaching its conclusion.] <- to be redacted from complainants version

         The panel concludes by a preponderance of evidence that Mr. Montague sexually assaulted Ms.
         Roe      in violation of Yale's sexual misconduct policy

         [Recommendation:

        In accordance with section 7.5 of the UWC's Procedures, the panel takes into account its
        conclusion in this case and the two previous formal disciplinary findings against Mr. Montague
        when making its recommendation

        The panel found,particularly relevant a previous-UWC finding that Mr. Montague violated Yale's
        sexual misconduct policy, in the form of sexual harassment, In the fall of 2013. At the timed
        the 18 October 2014 encounter with Ms. Roe          for his violation of sexual misconduct
        policy, Mr. Montague was on probation, had received sexual harassment and gender sensitivity
        training, and education and counseling on the appropriate use of alcohol. Furthermore, starting
        in the spring term of 2014, Mr. Montague was required to meet with a member of the SHARE
        Center staff each semester to review and reflect on his Interactions and relationships with
        female students at Yale. Mr. Montague had three meetings with SHARE Center staff between
        the previous violation of UWC policy and his sexual assault of Ms. Roe        The panel notes
        that students on probation are warned that "the commission of a serious offense while on
        probation will normally result In suspension or expulsion."

        Mr. Montague also received a written reprimand from the Yale College Executive Committee in
        September of 2015 for violating Yale College Undergraduate Regulations for Defiance of
        Authority.

         The the panel is deeply n ,Aecf by the pattern of behavior by '              and his failure to
        flake responsibility for and team from actions that hi v&causeci considerable harm. to others.


                                                        9




Confidential                                                                                               YALE00016756
               Case 3:16-cv-00885-AVC Document 157-16 Filed 07/18/18 Page 12 of 12




        Mr. Montague told the panel that he was sorry If Ms. Roe       felt disrespected or harmed, but
        then spoke at length about the harm this UWC complaint had on his academic and athletic
        performance. He also told the panel that he was an ideal student, a role model at Yale, and had
        never experienced anything like this before. These statements are In contrast to Mr.
        Montague's two previous violations of Yale regulations.

        The panel recommends that Mr. Montague be expelled from Yale University. 1 (— to be
        redacted from respondent's and complainant's versions

        Respectfully,
        Sarah Demers
        Eileen Donahue
        Kimberly Harris
        John Mayes
        David Post (Panel Chair)




                                                      10




Confidential                                                                                              YALE0001e757
